Gov. Ex. 161
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 Applied NellropsycholoBy                                                       EXHIBIT                                     Copyright 2006 by
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                              Ethical lssues Associated With the ALSSeSS】                                                   ment
                               of Exaggeration,Poor Effort,and Malingering
                                                                       Grant L.Iverson                                                               GOVERNMENT
                                                                                                                                                       EXHIBIT
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     An overwhellning number ofpublished studies relat―                                   ment of lneasures,indexes,and other strategies for as―
  ing to the detection of exaggerated symptoms,poor ef―                                   sessing exaggerated symptoms and poor effoi seemsto
  fort during neuropsychological testing,and mahnger―                                     have outpaced the development of professional guide―
  ing have been published in the past 15 years, It is                                     lines that clarify their role in the evaluation process,I              エ
  daunting for a researcherin this area to keep up、 vith the                              would certainly agree,based on our experience review―
  hterature and virtuaHy ilれ pOssible for practitioners.                                  ing this hterature ovel・      the past 15 years(Franzen&
  FoHunately,there are many good reviews ofthis litera―                                   Iverson, 1995,           1997, 1998, Franzen, Iverson, &
  tuЮ (e,g,,Bianchini,Mathias,&Greve,2001,Hayes,                                          McCracken, 1990, Iverson, 2003, Iverson & Bindet
  Hilsabeck,&Gouvie、 1999,Hom&Denney,2003;                                                2000;Iverson&Lange,in pressi Shck et al。 ,1999),al―
  Iverson, 2003, Iverson & Binde4 2000, Milhs &                                           though this outpacing seems to be less of a problem
  Volinsky,2001,Reynolds,1998;Rogers,1997i Sweet,                                         during the past 5 years.
  1999,Vickery,Berry,Inman,Ha∬ is,&Otty,2001).                                                 The slow development of evidence― based profes―
  Specinc guidelines and recommendations for identify―                                    sional    guidelines            for   the   use   of speciic
  ing rnalingering in a neuropsychological evaluation                                     neuropsychological tests and combinations of tests,to
  have been available for several years(SliCk,Sherman,                                    derive speci「ic clinical inferences,is an ongoing strug―
  &Iverson,1999)and have recently been published for                                      gle for the profession.Over the past several years,re―
  pain‐ related    disability evaluations(Bianchini,GЮ                      ve,&          searchers have been encouraging the use of Bayesian
  Cttlynn,2005).The key for practitioners is to(a)have a                                  methods(e.g.,MOssman,2000,2003)for effOrt testing
  solid plan for how to conduct and interpret this aspect
                                                                                          (e.g., Barrash, Suh亀 & Manzel, 2004; Bianchini,
  ofthe evaluation and(b)Stay abreast ofthe literature re―                                Mathias,Gttve,Houston,&Crouch,2001;Etherton,
  lating to the speciac tests used.                                                       Bianchini,Greve,&Heinly,2005;Glassmire et al。                    ,

     A position paper on symptom validity assessment                                      2003;Greve,Bianchini,Mathias,Houston,&Crouch,
  has recently been pubhshed by the National Academy                                      2003;Lange,Su‖ 市an,&Anderson,2005;Mimis&
  of Neuropsychology (Bush et al,,2005).The authOrs,                                      Volinsky, 2001, Shck, 1■ opp, Strauss, & Thompson,
  in the introductory comment,noted that the develop―                                      1997).ThiS encOuragement is similar to other areas of
                                                                                          professional neuropsychological research and practice
     I would like to thank Daniei Slick,RacI Lange,Brian Brooks,                          (e.g。 ,BaF&MCCtta,2001,Benedict et al.,2004;Ben―
  and Jodi Viも Oen fOrtheir academic Юview and assistance wih this                        edict et al.,2003,Iverson,Mendrek,&Adams,2004;
  article,as well as Jennifer Bernardo for ller ilelp、        vitiェ   rnanuscript         Ivnik et al.,2001:Labarge,McCaFfrey,&Brown,2003;
  preparation,
                                                                                          Rasquin,Lodder,Vissett Lousberg, &Verhey, 2005;
     Corrcspondence should bc addressed to Grant lverson, Ph.D。
                                                                                          Sawrie et al., 1998i Shapiro, Benedict, Schretlen, &
                                                                                ,


  Department oF Psychiatry,2255 Wesbrook MaH,University Of Brit‐
  is,l Columbia, Vancouvct B.C. Canada V6T 2Al. E‐                          mail:         Brandt, 1999; Tierney, Szalai, Dunn, Geslani, &
  giverson@interchange,ubc,ca                                                             McDowell, 2000; Woods, Weinbom, & Lovttoy,

                                                                                     77



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  2003).UnfOrtunately,Bayesian methods and other in―                  Resnick(1997)desc五 bed three types of mahngeト
  teresting statistical methodologies(e.g.,Crawfol・ d,             ing,labeled̀̀pure inahngeringF' partial rnahngeringF'
  Garthwaite,Howell,&Vennen,2003;Godbe恥 Andeト                      and̀̀false imputation."Pure mahngering is character―
  son,&Ben,2000),including odds and likelihood ratios              ized by a complete fabrication of symptoms, Partial
  (e,g.,Bieliauskas,Fastenau,Lacy,&Rope嘉 1997,Dori                 mahngering is derined by exaggerating actual symp―
  &Chelune,2004,Ivnik et al,,2001;Ivnik et al。 ,2000),             toms or by reporting past symptoms as ifthey are con―
  are rarely used by clinicians,Bridging the gap between           tinuing. False ilnputation reFers to the deliberate
  research and practice using innovative statistical and           Hlisattribution of actual symptoms to the compensable
  psychometric approaches is critical lor the continued            evento Appreciating these types is important because
  advancement ofneuropsychological assessmentin gen―               mental health and legal professionals rnight have a siln…
  eral and symptonl vandity assessmentin particulai Ch―            plistic view of malingering(1.e.,only putt malingering
  nicians should be encouraged to conceptuahze poor ef―            is considettd malingering).It WOuld be extraordina:・ 1ly
  lort, exaggeration, and malingering not in silnple               nalve,of course,to assume that a person with a psychi―
  dichotomous terms but through probabilistic consider―            atric problem or the lingering effects of a traumatic
  ations.                                                          brain ittuり COuld not malingen That would be tanta―
       Itis clearthat we aЮ   faced with numel'ous ethical is―     mount to concluding that people with these conditions
  sues and considerations associated with the assessment           att not capable of engaging in goal― directed behavior
  of exaggeration,poor effort, and mahngering, Colれ ―              (e.g.,exaggeration of symptolns to inauence their hti―
  merciaHy available tests, weH― written manuals, and              gation).Resnick's conceptualization deats with malin…
  dozens of research studies facilitate,but do not ensuК      ),   gering in the context of a medical,psychiatric,or psy―
  proper and responsible test use. Individual practitio―           chological evaluation insofar as it relates to the
  ners, clinical researchers, professional organizations,                port of symptoms and pЮ blems,
                                                                   self― 鶯

  and regulatory bodies are an stakeholders in responsi―           Neuropsychologists must,of course,estilrlate the ex―
  ble test use,but the ultirnate responsibility lies with the      tentto which a person appears to be putting forth his or
  practitioner.The purpose ofthis ahicle is to(a)identify          her best erort during testing and then make an infeli
  and discuss several ethical issues and considerations            ence regal'ding underlying motivation to perform.Ef―
  and(b)prOmOte and encourage mott thoughtFul,con‐                 fortis not a binary phenoinenon.It ians on a continuulη
  sistent,and responsible use of effort tests。                     froHl very poor to outstanding.
                                                                      To render an opinion regal・ ding malingering,the cli―
                                                                   nician rnust rnake an inference regal'ding a person's un―
                                                                   derlying lllotivation or reasons for presumed poor ef―
          DEFINITIONAL AND CONCEPTUAL                              fort,exaggeration,and/or fabrication of symptoms and
                 CONSIDERATIONS                                    problems.Typically,we consider thtte underlying rea―
                                                                   sons for presumed dehberate exaggeration. First, the
       Mahngering is the intentional production of false or        clinician might conclude that the plaintiff has exaggeli
  greatly exaggerated symptoms lor the purpose of at‐              ated as a FFcry 10r help."This eupheinisin trnphes that
  taining some identinable extemal rewal・ d(American               the person has serious psychological or psychiati・ ic
  Psychiatric Association,1994)。 Within the context of a           problems and is desperately seeking recognition ot and
  psychological or neuropsychological evaluation,an in―            attention fo馬 these problems,There is a long history of
  dividual who is inalingering typicaHy exaggerates sub―           conceptuahzing exaggeration as a cry lor help in psy―
 ject仲 e symptoms.The person may exaggerate depЮ            s―     chology and neuropsychology,whereas in psychiatry
  sion, anxiety, pain, dizziness, sleep disturbance,               and general rnedicine clinicians are inclined to attribute
  memory probleins,poor concentration,or personality               exaggeration to    psychological factorsデ ' ̀̀pSychiatric
  change. During neuropsychological testing, a person              problems,'Or̀̀nonorganic factors."Second,a person
  who is rnahngering dehberately underperforms,A per―              ■light deliberately exaggerate because he or she has a
  son may decide to malingerto(a)receiVe inore money               deep― seated psychologicai need to be perceived as sick
  than they are entitled to in apersonal ittuりlawsuit,(b)          and disabled.The motivation is not the litigation,per
  receive worker's compensation or disability beneFits,            se,butto be seen and treated as a sick and disabled peト
  (C)Obtain prescription medications,(d)avOid prOsecu―             son. Under these circumstances,the person would be
  tion fol・ chminal act抒 ities(宙 S‐ 占―
                                     宙s a determination of         diagnosed with a factitious disorder.Finally,a person
  incompetency to stand trial),Or(e)avOid Criminal礎 ―              Hlight deliberately exaggerate, underperfornl,or both
  sponsibility(i.e.,nOt guilty by reason ofinsanity).              during testing because he or she is trying to influence

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                                                 ETHICALISSUES&EXAGGERATION

 the outcome of his or her evaluations to inauence the                    exaggeration and poor effo五 .They are notsynonymous
 outcome of the litigation,This latter behavior is what                   behavioral constructs,although,unfol̀tunately,the dis―
 we consider lnalingering.                                                tinction between them has often been blurred.For ex―
   Nonoptimal e∬ ort,suboptil■ al effort,incomplete ef‐                   ample,clinicians frequently refer to poor performance
 fort, poor effoit,biased responding,and negative re―                     on an efforttest as exaggeration,such as           syl■ ptonl ex―
 sponse bias are some ofthe terms typically used to de―                   aggeration"or̀̀cognitive exaggeration."The term ex―
 scribe e∬ ort test or neuropsychological test                            aggeration is less ambiguous conceptually if it is used
 performance.Faking,feigning,silnulating,dissiFnulat―                     to describe symptom reporting during interview,syinp―
 hg,magnifying,am∬ ifyhg,and exttgeraing a俺                               toHl endorsement on psychological tests or behavioral
 some of the terms used to describe interview behavior                    observations(e,g., iacial expressions or pain behav―
 or responses on psychological tests. Those faHェ ihar                     iOrS).POOr erort,。 n the other hand,refers to b冴 ￨とvソ ,ο r
 with the literature over the past decade will appreciate                r′        胞g    ヵdr,テTξ   This simply means the person
                                                                              "万
 that nearly all ofthe previous terms have been used to                   underperformed during testing. The chnician Hlight
 describe both test performance and syコ nptoHl endorse―                   wish to infer that this underperfolィ nance constitutes
 ment.                                                                     exaggeration" of problems, such as memory prob―
   My preFerred terms aЮ ροο′ι
                             √οrr fOr describing                          lems,but it is important to appreciate thatthis is a dι て
                                                                                                                                  ,‐


 underperforHHng on neuropsychological tests and      ι,χ ―               ο用て
                                                                            どと
                                                                             vrノ じJれ た
                                                                                  ′                   セ用εじデthe
                                                                                                   J均修′           p五 mary clinical infeト
                                                                                             'ど
 αggて ,′αサ
         ′ηg for describing responding on psychological                   ence      ispoor effort,"             underperformance,'      or
 tests,such as the Minnesota Multiphasic Personahty ln‐                   ̀̀submaximal effoA."
 ventory‑2(MMPI‑2)。 TheSe terms are simple,descrip―                           The conceptual and assessment― related overiap
 tive,and communicative.For this article,I adopted the                    among exaggeration, poor ettort, and mahngering is
 expression d),用′サο′ α″ ッαttι ddデ ケ i生,じ 乃ち uSed in the                   inustrated in Figure l. The shaded circle represents
                       '?ソ     ̀′
 National Academy of Neuropsychology position paper                       mahngering, the dotted circle exaggeration, and the
 (BuSh et al.,2005),to refer to an l■ ethods and proce―                   sond circle poor effort,As inustrated with the shaded
 dutts on which the practitioner can draw to lnake infer―                circle,lnalingering in a neuropsychological evaluation
 ences regarding poor effort during testing and exagger―                 typicaIIy involves both exaggeration and poor efforti
 ation of symptoms or problems during interview or on                    ho、 vevett it can occur with onty one of these con―
 psychological tests,                                                    structs being pttsent(Or accutttely detected).Notice
   Psychological and neuropsychological evaluations                      the sman shaded area at the top, within mahngering,
 should include assessment rneasures designed to detect                  that does not involve exaggeration or poor eFSort,This
 exaggeration of symptoms and problems and poor ef―                      could be a situation involving ialse ilmputation,in that
 fort on cognitive tests.There is longstanding concep―                    a person repons iegitiinate symptoms and problems,
 tual conftlsion among chnicians and researchers re―                     reasonably accurately,but dehberately and kno、 vingly
 garding the silnilarities and differences between                       attributes them to aね lse cause(e.g,,a mOtor vehicle




                            Exaggeration
                                                                   Mahngenng                            Poor Ettort




                Figure l.    Conceptual and assessment overlap between exaggeration,poOr eFfort,and malingorillg.
           Note.The shaded circle represents nlalingering,the dotted circle exaggeratiOn,and the solid circie p00r eFFort。


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  accident). Notice that exaggeration and poor effort,                   3.Using moЮ or fewer effoH tests,systematically,
  singly Or in combination,can occur without the per―               depending on whether you were retained by the deSen―
  son mahngering. A person with a iactitious disorde4               dant or the plaintilf,For example,giving one e∬ ott test,
  for example,might exaggerate and underpel・ forHl dur―             such asthe Test of Memory Mahngering,during plain―
  ing testing. In inpatient adult or geriatric psychiatric          tilf evaluations and not exanlining performance pat―
  settings,or outpatient adolescent psychiatric settings,           terns on other tests,such as Digit Span(e,g.,Binder&
  poor effort during testing might occur sirnply because            winis, 1991; Greiffenstein, BakeL & Gola, 1994;
 the person does not want to undergo the assessment.                Iverson & Franzen, 1994, 1996; Iverson & Tulsky,
  Under these circumstances,the results are not valid or            2003;"生 eyers&Vblbrecht,1998i Suh吼 Tranel,Wefel,
 accurate, but the clinical inference for the behavior              &Barash, 1997;Trueblood&Schmidt, 1993),the
  would not be mahngering.Some degree of exaggera―                                 ,DiCario,Gfeller,&Ol"en,2000;
                                                                    Category Test(eog。
 tion is likely ubiquitous in civil and crilnina1 lorensic          For●est,Allen,&Goldstein,2004,Sweet&King,
 evaluations,and it is beheved to be relatively common              2003;Tenhula&Sweet,1996)orthe Canfornia Verbal
  in chnical settings especially among people with                  Learning Test(e,g., Ashendolt O'Bryant, &
  somatofor■l disol'ders,abromyalgia,chronic pain,and               McCaffrey,2003,Coleman,Rappo■ ,MiHis,Ricker,&
 certain personahty disol'ders, As inustrated in Figure             Farchione, 1998:Demakis, 1999;Ⅳ loore&Donders,
  l,exaggeration can occur independently of malinger―               2004i Shck, Iverson, & Green, 2000, Sweet et al,,
  ing and poor e∬oA.                                                2000).In cOntrast,3or deiense evaluations,the chnician
                                                                    rnight give three eFfort tests and exainine performance
                                                                    patterns on lnultiple tests.
                     ETHICAL ISSUES                                    4, 1」 sing direrent effort tests depending on which
                 AND CONSIDERATIONS                                 side retains you.For example,using the Rey 15 1tems
                                                                    Test lor plaintir cases and the Wol'd Memory Testand
      The central issues regarding synnptom vandity as̲             the Computerized Assessment ofResponse Bias for de―
 sessment,fronl an ethical perspective,relate to compe―             fense cases.The former test has lower sensiti宙 ty(e.g,,
 tence,o噺 ect市 ity,clarity in communication,and the                 Arnett,IIammeke,&Schwartz,1995;Guilmette,Hart,
 proper use of tests.CoHHnon sense dictates that symp―              Guiliano,&LeiningeL 1994;Iverson&Binder,2000;
 tom vandity assessment is essential,However,it is,by               Millis&Kle吼 1995)i therefOЮ ,the clinician would be
 tts vely nature,controversial.[〕 leven ethical concerns,           systematicany, with lorethought, reducing the likeli―
 issues,and considerations are summarized in the fol―               hood of detecting poor effort.
 lowingi                                                               5. Using e∬oh tests differently depending on which
                                                                    side retains you.An obvious example、 vould be to give
      1, Failing to use wen― researched e∬ ort tests,This           silnple e∬on tests at the end of the evaluation or aFter
 concern,of course,is not lirnited to ettoh testing.It re―          much lnore dimcult tests,such as a battery ofinemoリ
 lates to assessment in general.Using tests with a poor             tests,Researchers have cautioned that fronl a common‐
 or lilnited empirica1 loundation Hlight signincantly ad̲           sense perspective this practice Hlight reduce the sensi―
 versely affect(a)the aCCuracy ofthe conclusions drawn              t市 ity of the effort test(e.g.,Bernard,1990;Iverson,
 (e.g.,poor e∬ olt or adequate effort)and(b)the useful―             2003),and theЮ is some empirical support forthis con―
 ness ofthis information to the various parties involved.           Cern(e.8・ ,Guilmette,Whelihan,Hart,Spamdeo,&
 Some practitioners believe that effort testing is unnec―           Buongiorno,1996).
 essary because most neuropsychological tests require                    6. Warning or prompting patients immediately be‐
  e∬ort.''Therefore,if a person performs well on some               fore takhg an effort test,It is approphate to warn pa‐
 ofthe rnore difricult tests in the battery,then there is no        tients that rnethods for detecting exaggeration and poor
 reason to be concerned about e∬ on,AIthough this posi―             erort        Pan of tte evaluation process(SliCk&
 tion appears super「 lciany logical,this approach(a)runs            Iverson,2003).ItiS nOt,ofcourse,appropriate to subdy
 counter to mainstreana reconllnendations and standard              or directly warn or promptthe patientimmediately be‐
 practice in iorensic neuropsychology and(b)haS never               fore the testis administered(e,g。 ,by saying Most peo‐
 been empirically vandated.                                         ple ind this test very easy"or   Be sure to try your best
      2. 1」 sing e∬ on tests only for deSense cases.A clini―        on this test''or   Remembe4 we have tests designed to
 cian who uses these tests lor defense cases or disability          detect poor effort").Warning a patient immediately be―
 evaluations,but who chooses to onlit thenl from plain―             fore taking an erort test can greatly reduce its sensitiv―
 tiff cases,is inviting criticism of bias.                          ity(Cervais,Green,Allen,&Iverson,2001).

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     7. Interpl()ting e∬ ort test results differendy,systerト                   a computeized eFSort test).SOme reseatthers have俺                  ―
  aticany,depending on which side retains you.The inost                     poHed that coached sutteCtS are less likely to be
  extreme examples would be to systematically interpret                        accumtely identifled on effort tests(e.g,,DiCario et al.,
  effort test failure as a cry for help or̀̀distraction due                 2000,Frederick&Foster, 1991, Rose, IIall,Szalda―
  psychO10gical factors or pain"for plaintiff cases and                     Petree,&Bach,1998).
  due tò̀Fnalingering"for defense cases.                                      9. Interpreting effort test iailure or exaggerated
     8。 AssuHling that someone who passes an efForttest                     symptoms,in isolation,as malingering。 (See Figu俺                      1


  gave his or her fllllす ' COmpleteF'Or best"effon dur̲                     and accolれ panying text For the conceptual overlap
  ing the evaluation.There are four reasons why this as―                    among these constructs。 )Effort tests do not measu峰
  sumption Hlight not be correct.First,passing an effort                    mahngering,per seithey measure behaviorthatis asso―
  test silnply means the person passed the effort test,It                   ciated with lnalingering.Malingering should not be in―
  does notrnean thatthe person gave his or her best effort                  ferred from a single testi rather this conclusion is de―
  during the neuropsychological evaluation.This gener―                      rived from converging evidence that the person was
  alization fronl adequate erort on a single testto best ef‐                deliberately exaggerating symptoms and/or perforining
  fort across many tests is not appropriate.It is usually                   poorly on testing to increase the probability of obtain―
  bestto conceptuahze a person's effort as̀̀adequate"or                     ing an obvious external incentive,It is possible that a
  nOt(See Figure 2).The Chnical inference of adequate                       person scoring below an empiricaHy derived cutoron a
  erolヽ tis   lnade on the basis ofconverging evidence(e.g.,                single test designed to detect poor e∬ Ort could(a)be a
  careful behavioral observations and performance on                        false positive or(b)haVe perhrmed poorly,even delib―
  one or rnore efforttests),SeCOnd,in nearly every analog                   erately,forreasons otherthan those associated with ma―
  malingering study,there is a subset ofparticipants who                    hngering (e.g,, general uncooperativeness or serious
  are deliberately faking dencits during testing but、 vho                   psychiatric disturbance).The clinical inference of ma―
  are not detected 、
                   vith the procedure under study,                          hngering is complex and requires multiple sources of
 False― negative rates can be quite high on tests designed                  converging evidence(Bianchini et al.,2005,Shck et al.,
  to detect poor erort because researchers tend to select                      1999).Often this converging evidence is not available,
 cutor scores designed to nlinilnize false positives.                       or when itis the infettnce of malingering might simply
 Third,itis entirely possible that a person chooses not to                  be too provocative and pttoratiVe for the clinician's
 underpeiforrl,or underperforms to a small degree,on                        comlort.Underthese circumstances,it is appropriate to
 that specific test;、   vhereas,on othertests the poor effort               discuss exaggeration and poor effort as behavior with―
  Hlight be lnore pronlinent.Finally,it is possible that at‐                out rnaking the inference oflれ alingering.The clinician
 torney coaching(YounttOhn,1995)could a∬ ect how a                          should consider exphcitly listing an reasonably possi―
 patient performs on a specinc test(e.g.,the MMPI‑2 or                      ble direrential diagnoses or explanations that could ac―

                                                                Deinite Poor
                                                                    EabH
                                             Probable Poor
                                                 EFFort




                                        Possible Poor
                                            Eぼort



                                                                                               Adequate
                                                                                                 Erort



 Figure 2,    DeanitiOnal cate80ries lbr emort.Ⅳ οr?.MOst people provide adequate eFFort during testing.This includes eFFort ranging
 From adequate to outttandilig.    Possible poor eFForげ 'refers to a dinicalinference with 507ο or less certtinty. PЮ ba"le p00r e郎 ort"re‐
 Fers to a clinicalinference with greater than 50σ /ο cer儀 五nty。 Dettnite poor efFort''can be used、 vhen a person performs below the prob・
 able range ofrandom responding(1.e。     ,below the 90ワ♭conrldence interval for chance),or thCre is converging and compelling evidence
 oF poor eFFort,The derinitional cate80ries ill Figures 2 and 3 are sinilar to the categories For nialingering presented in Slick,Sherman,
 &Iverson(1999)。


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 count for the behavior and making clear the evidence                         Test shouid be fこ 全miliar with the body of wol・ k with this
 that iavors one more strongly than another.It Fnight be                      teSt(e,g,,Dunn,Sheatt Howe,&Ris,2003:Gervais,
 necessaly to point out thatthere is insuFhcient evidence                     Rohling,Gtten,&Ford,2004;Gel'vais et al.,2001,
 to decide among two or rnore alternative diagnoses or                        Green&Flaro,2003:Gtten&Iverson,2001:Gtten,
 explanations, It can be helpful to use the deanitional                       Iverson,&AIlen,1999;Gtten,Lees― Haley,&Allen,
 desc五 ptors for effoH presented in FiguK)2(1.e.,ade―                         2002, Green, Rohhng, Iverson, & Gervais, 2003;
 quate effort,possible poor effort,probable poor effort,                      Green,Rohhng,Lees‐ Haley,&Anen,2001,Iverson,
 deinite poor effort)and exaggeration presented in Fig―                       Green,&Gervais,1999;Rohling,Allen,&Gtten,
 ure 3(i.e,,undettndorsement of symptoms and prob―                            2002;Rohling,Gtten,Allen,&Iverson,2002;Tan,
 lems,accurate reporting,possible exaggeration,proba―                         Slick,Stttuss,&Hultsch,2002).
 ble exaggeration, and deanite exaggeration)。 Future
 research will bolster and futther darify the
 psychometric and decision― making foundations for the                                         CONCLUSIONS
 derinitional descriptors provided in Figures 2 and 3.                                     AND RECOMMENDATIONS
       10. Inappropriately interpreting exaggeration as a
 cry for help.The underlying motivation for exaggera―                             The National Academy ofNeuropsychology position
 tiOn(Or poor efFolt during testing)can be very difrlcult                     paper clearly states that syrnptoin vahdity assessl■ entis
 to infer.Clinicians should be careftllto not sirnply use a                   not optional.This position paper solidines the recoHl…
 ciy for help as a stock standal・ d inference for the cause                   mendation lorroutinee∬ ort and vandity testing rnade by
 of the exaggeration,This explanation forthe exaggera―                        clinical reseaК hers ttr more than 10 yeal・ s(e.g.,Doss,
 tion, like any explanation (inCluding mahngering),                           Chelune,&Naugle,1999,p.17;Gtten et al.,2001,p.
 should be based on clear and converging evidence,It                          1059;Greve et al.,2003,p.179,Iversonど とBindeli 2000,
 could be considered biased if a chnician has a much                          p. 853, Iverson&Franzen, 1996, p. 38, Lu, Boone,
  iowerthreshold,and rehes on rnuch less evidence,to at‐                      Cozolino,&Mitchen,2003,p.426;Mateer,2000,p.54;
 tribute exaggeration to a cry for help versus deliberate                     Minis,Ross,&RickeL 1998,p. 172i SIick,Hopp,
  misttpttsentation of symptoms and pЮ blems to in■                     u―    Strauss,&Spenacy,1996,p.920,Suchy&Sweet,2000,
 ence the results of a Sorensic evaluation.                                   p.56i Suhr&Boyeち 1999,p,701i Sweet,1999,p.278;
       11. Competent,responsible,inlormed use of tests.                      Tornbaugh,2002,p.68).From an ethical perspective,
  As a general rule,one cannot silnply rely on test rnanu―                    neuropsychologists who fatlto conduct symptona vand̲
  als.The literature on specinc tests is constantly evolv―                    ity assessment are not conducting a competent forensic
  ingi chnicians should actively keep up、 vith the titera―                    evaluation.The primaly ttasons for questioning a chni―
  ture for the specific tests used.For example,in addition                    cian's competence for notconducting a propersymptom
 to the test manual,a person using the Wol・                  d Memory         validity assessment are as fomowsi(a)pOOreffon du五              ng


                                                               I)cmtc           Undeト
                                                             Exaggeration    Endorscment




                                             Probable
                                           Exaggcra苗 on




                                                                                                 Accurate
                                                Possible
                                                                                                 RepOrting
                                              Exaggcration




  Figure 3.   DeAnitional cate80ries fbr exaggeration.Ⅳ οra MOst people provide reasonably accurate portrayals oftheir syniptoms alld
  problemso Some people downplay or minimize their problens(underelldorsement).               POSSible exaggeration"reFers to a chlical ilifeト
  ence with 50'/っ or less certainty.   Probable exaggeration"reFers to a clinicalinference with greater than 50'/ο   certaility。   Dennite exag‐
  geration"can be used when there is convergi118 and compening evidence of exaggeration。


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Ex. 161, p. 6 of 15
                                                    ETHICAL ISSUES&EXAG6ERA『 ION


  testing is,unfortunately,common(Larabee,2003;                              1. Neuropsychologists should routinely assess for
  Mittenberg,Patton,Canyock,&Condit,2002),(b)the                          poor erfort during testing and exaggerated symptoms
  e∬ect ofpoorerort on neuropsychologicaltestresultsis                    and problems.Itcan be vely helpfulto place a silnple ef―
  mttOr(ViCkery et al.,2001),and,in fact,dwarfsthe ef―                    fort test at the beginning ofthe evaluation,before mo俺
  fect of mild traumatic brain itturieS(See Figu俺 4);(c)                  difrlculttests are administered.Itis also helpfuito insert
  there are well― validated tests for detecting poor effort               atleast one rnore at some point during the evaluation(if
  that have low ialse― positive rates,and(d)itiS COnsidered               an evaluation spans 2 days,itis appropriate to include a
  standard practice in forensic psychology and neuro―                     test on each day).Passing an effort test,however,does
  psychology to do so.                                                    notmeanthatthepersongaveadequateero鷲 throughout
     Chnicians can avoid most ethical problems by fol―                    the evaluation,so exanination ofperformance patterns
  Iowing the four recoHIInendations listed in the foliow―                 looking for inconsistencl̀墾 二〇r things that do not rnake
  ing,The ethical and professional guidehnes that pro―                    biological orpsychometic sense,is alsoirnpoHant(e.g。                 ,


  vide the rationale for these recoHlrnendations are                      Iverson,2003;Larabee,1990;Shck et al,,1999).
  provided in Appendix.


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  Figure 4, EfFect sizes on overan neurOpsych010gical Functioning.Ⅳ οr?. EFSect sizes typically are expressed in,ooled,weighted stan‐
  darddeviatiomunits.However,acrossstudies,therearesome■          linorvariationsin the methodsoFcalculation.Byconvention,ettectsizesof
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  2 are considered sman,,5 rnediunl,and。 8 1arge,This is front a statistical,■ ot necessarily clnical,perspective.For this ngure,the overan
  efFectoncognitiveorneuropsychO10gicaifunctioningisreported.TheeFFectsizesaredisplayedinanegativedirectiontovisuanyillustrate
  thè̀negative"or   adverse"eFFecton cognitive Functioning.These eFFectsizes were presented in a ditterent Formatin lverson(2005).Ef‐
  Fectsizes iess than。 3 should be considered very sman and dimcultto detectin individuai patients because the patientand controlgroups
  iargelyoverlap。 ヽイ
                   fildtraumaticbrainittury(MTBI)0‑6days,7‑2,days,3049days,moderate‐ severetrauinaticbrainilliury(TBI)0‑6
  months,>24 1nonths,all in Schretlen and Shapiro(2003),39 studies,N=1,716 TBI,Ⅳ       =1,164 controls,MTBI(Binder,Rohling,&
  Larrabee,1997),1l studies,ハ 「 〓314 MTBI,ハ「=308 controls,a recent meta‐ analysis relating to neuropsychological dencits associated
  withヽ イ
        生TBIs revealed similar andings(Belange、 Curtiss,Demnery,Lebowitz,&Vanderploeg,2005),cannabis(Grant,Gonzalez,Carey,
  Nataraian,&WOlttoll,2003),long‐ term regularuse,1l studies,N=623users,Ⅳ =409■ onusersor minimalusers;dysthymia,depression,
  and bipolar disorder(Christensen,Gril■ ths,Ⅳ gackinnon,&Jacomb,1997),3 comparisons lor dysthynlia,97 comparisons rbr depres̲
  sion,and lS comparisolls for bipolar disorderi benzodiazepine、 vithdrawal(Barker,Greenwood,JaCkSOn,&Crowe,2004b),10 Studies,
  long‐ 俺rm follow‐ up,44comparisons,litigatio11′
                                              rinancialincentives(Binder&Rohling,1996),17studies,Ⅳ =2お 53 total,attentiondencit
  hyperacti宙 ty disorder(ADHD,FrazieL Dematte,&YoungstЮ      m,2004),based On full・ scaleIQ,123studies,chЮ nic bel120diaZepine use
  (Barker,Greenwood,Jackson,&Crowe,2004a),13 studies,N=384,61 comparisons,exaggeration/malingering(ViCkery etal。         ,2001),32
  studies published between 198S and 1998,41 independent comparisOns.
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Ex. 161, p. 7 of 15
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      2. Neuropsychologists should explain to exaHinees                                                  REFERENCES
  that it is importantto provide their best effort and to re―
  polt their symptoms and problems accurately.                        Ainerican Educational Research Association,Amelican Psycho‐
                                                                            logical Association,&National Council on Mcasuremellt in
  Neuropsychologists should notify them that failure to
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  do so can often be detected.                                                                                ̀デ        ̀′                         ̀′
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      3. Neuropsychologists should be fa■ liliar with the                               =.W′
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  literature on poor e∬ ort,exaggeration,and malingering                   て,rrr′ ,T,″ ιl■ ′0デ ′
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 cific tests and rneasures used.Itis helpFulto write out de―
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  tailed procedures for ho、 v to interpK)t teSts measuring
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 different aspects of exaggeration and poor e∬      o■ .To sort            and quantative perFormance on Rey's 15‑Itenn Tcst in neuro‐
  out the complexities of dilferential explanations and di‐                logical paticnts and dissimulators T′ ,c, (ヌ ど      ザ,Pど c,ど



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  and neuropsychological test results,Beiore cOncluding                    (2004a).Cogllitive crFects ofiong‐                                  term bcnzodiazel)ine use:A
  that a person is rnalingering,the clinician should system―               Ineta‐ analysis.(デ ⅣざD′・  ι
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  atically ruleout alternative explanations forthe behavioh           BarkeL M.J.,Gttellwood,K.M.,Jackson,M,,&CЮ wc,S.R
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      4. Neuropsychologists should state conclusions
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  about poor effort,exaggeration,and malingering care―                      力,ca′ ブ
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 evidence of poor e∬ ort, exaggeration, or both, this
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  should be stated clearly in one's report.It should not be
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 Figures 2 and 3.The failure to accurately report pre―                      125‑140.

  sumed poor e∬ ort,exaggeration,or both is silnilar to               BelangeL H G.,Cultiss,G.,Demev,J A.,Lebowitz,B K,&
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 sponsible and unethical lor a clinician to silnply con―              Benedict,R.H.,Cox,D.,Tllompson,L.L.,Foley,R,Weinstock‐
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 clude that a person is malingering because the person                     Cuttman,B,,&Munschaucr,R(2004).Reliable screening For
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 tious in ourconclusions regarding lnalingering.The cli‐              Belledict,R.H.,Munscllaucr,R,Linn,R.,Miner,c.,Murplly,E。                                                        ,



 nician should have persuasive converging evidence be―                     Foley,R,ct al(2003).Screening For multiple scleЮ                                              sis cog:li―

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                       CONCLUSION                                          Ыmulahon research.デ ο,,7:rrrて ,デ                                   (vど ,′ θ♂′♂″〃 aIP9・ ヵ?ι ″rr′
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 ethical reasons,symptonl validity assessment is essen―
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     Pliskill,N.H。 ,etal.(2005),SymptOm validity assessment Pttc―                                                                             detection of malingering in neuropsychological asscssment.
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     &Kuzniecky,R.(1998)Contribution oF neuropsychological                                                                                  (2000).Prediction oF pЮ bable Alzlicimer diseasc in patients
      data to the prediction oF temporal lobe epilepsy surgery out‐                                                                         with symptolns suggest"c oF meinory impairmellt,Valuc oF
     coine.E,i′ ?′,∫ Jら ,乳 319‑325,                                                                                                         the Mini‐ MentaI Statc Examination.A,・ て?Jv￠ ∫ο
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      Symptom Vandity Test Ettciency for detecting Feigned me■ 1‑                                                                       Vickery,C.D。 ,Berry,D。 ■ ,Inman,■ H.,Harris,M.J,&Orey,S.A.
      ory impairment and relationship to neuropsychoiogical tests                                                                           (2001).Detection of inadequate efFoH on neuropsychological
      and MMPI‐ 2 validity scales.yο ′′   デ(刃 力!'(,β r a′ ,″ awだ ′
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      ple of ilead‐ ittury litigants.Jο ,,v:β ′デσ″′
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      oftile Wechsler Memory Scale― Revised as an indicator oF sus‐
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      fonnance after head httutti Contributions of malingering,lit‐
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      igation status, psychO10gical Factors, and medication use
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      Zcitlinget                                                                                                                           vestigation.


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Ex. 161, p. 11 of 15
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      VI.C。  (Fottnsic Specialty)In prO宙 ding fottnsic                                                    ple sources of convergent test and collateral data
      psychological services,foЮ nsic psychologists take                                                  and an understanding ofthe normative empil・        ical,
      special c∬e to avoid undue in■ uence upon their                                                     and theoletical foundations as wen as the lirnita―
      methods,procedures,and products,such as might                                                       tions of such tests.
      emanate from the paity to a legal proceeding by n―
      nancial compensation or other gains.As an expen                                                     12.19(SEPT)T′ ?ゼ 肋彪ψ能′      9riο tt οデ′ι ざrdじ ο  κd ο  ′
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      2,04 American Psychological Association[APA〕                                                        RecoHllnendation 2.Neuropsychologists should e■            1‐


      Psychologists'、 vork is based upon established sci―                                            phasize the innportance of honesty and best effort.Pa―
      entinc and professional knowiedge of the disci―                                                tients should be informed that thereセ         re methodsto de―
      phne.                                                                                          tect invalidity within the evaluation.


      9,01(a)(APA)PsychO10gists base the opinions                                                         1｀   工E,(Forensic Specialty)Fottnsic psychologists
      contained in their recornlnendations,reports,and                                                    have an obligation to ensure that prospective ch―
      diagnostic or evaluative statements,including fo中                                                   ents are informed oftheirlegal rights with respect
      rensic testimony,on information and techniques                                                      to the anticipated forensic service,ofthe purposes
      sufficient to substantiate their andings.                                                           ofany evaluation,ofthe nature ofproceduresto be
                                                                                                          employed,ofthe intended uses of any product of
      9,06(APA)When interpreting assessment Юsults,                                                       their services,and ofthe party who has employed
      including automated interpretations,                                    ノ,力 0′ ο‐
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      7.7 Standal・ ds
                    for Educational and Psychological                                                     whateverreasonablestepsareneededtoensurethat
      Testing[SEPTI In testing apphcations involving                                                      the information was,in iact,understood.
      individuahzed interpretations of test scores other
      than selection,α 決努rぢ αたゼr'sdじ ο萬
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      11.20(SEPT)In educational,clinical,and counsel―                                                     non― actionithe option to refuse or withdraw at any
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      12.18(SEPT)The interpretation oftest ortest bat―                                                    or through organizations provide information be―
      tery results genera‖ y should be based upon inulti―                                                 forehand to ctients and when appropriate those di‐

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Ex. 161, p. 12 of 15
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     rectly arected by tte ser宙 ces about(1)the nature                               ulations,areas,techniques,ortechnologies new to
     andottect市 eSOftheser宙 ces,(2)the intended recip―                               them undenake relevant education, training,su‐
     ients,(3)whichOftheindividualsareclients,(4)the                                 pervised experience,consultation,or study.
     relationship the psychologist will have with each
     personandtheorganization,(5)theprObableuses of                                  2.03(APA)PsychO10gists undertake ongoing ef―
     seⅣ ices provided and information obtained,(6)                                  forts to develop and maintain their competence.
     whowillhaveaccesstothe informttion,and(7)lim―
     its of conndentiahty.As soon as feasible,they pro―                              2.01(b)(APA)Where SCientinc or pЮ fessional
     vide information about the results and conclusions                              knowledge in the discipline of psychology estab―
     of such services to appropriate persons,                                        lishes that an understanding of factors associated
                                                                                     with age,gende恥 gender identity,race,ethnicity,
     8,7(SEPT)TeSttakers should be mttle aware that                                  culture,national origin,religion,sexual orienta中
     havingsomeoneelsetakethetestforthenl,disclos―                                   tion,disability,language,or socioecononlic status
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     11.5(SEPT)ThOSe who have a legitimate intettst                                  services,or they make appropriate reierrals,
     in the assessment should be informed about the
     purposes oftesting,how tests wili beadHlinistered,                              9,02(a)(APA)Pッ じ力ο′   ο8'dtt α ,万 れた′    ι4α αρち
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     RecoHllnendation 3, Neuropsychologists should
  stay current with the literature in general and with spe―                          9,02(b)(APA)PsychO10gists use assessment in―
  ciric tests used in particular.                                                    struments、 vhose validity and reliability have been
                                                                                     establishedforusewithrnembersofthepopulation
     II.A,(Fottnsic Specialty)Fο κ用すじρり じんο′
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     III.B,(Forensic Specialty)Forensic psychologists                                12,1(SEPT)ThOSe who use psychological tests
     haveanobhgationtopresenttothecourt,regarding                                    shouldconine theirtesting and related assessment
     the specinc matter to which ttey will testify,the                               activities to their areas of competence,as demon―
     boundaries oftheir competence,the thctual bases                                 strated through education,supervised training,ex―
     (knOWiedge,skill,experience,training,andeduca―                                  perience,and appropriate credentialing.
     tiOn)fOrtheirqualincationasanexpert,andthe礎 ト
     evance ofthose factual bases to their qualirlcation                             H.6(CPA)Orerorcarり out(WithOut super宙 sion)
     as an expert on the specinc matters atissue.                                    only those activities for which they have estab―
                                                                                     lished theil・   competence to carry them out to the
     2,01(a)(APA)PsychO10gists pЮ 宙de ser宙 ces,                                      benerit of others.
     teach,and conduct research、 vith populations and
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     tence,based on their education,training, super―                                α καrd,θデρ 肋ο んピ′
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     vised experience,consultation,study,or profes―                                 r力 湧′c″ だれr α
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     sional experience.
                                                                                    RecoHlinendation 4.Neuropsychologists should l・ e―
     2,01(c)(APA)PsychO10gists planning to plЮ vide                               port the ttsults oF symptom validity assessment care―
     services,teach,orconductresearchinvolvingpop―                                funy but also explicitly and clearly.


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Ex. 161, p. 13 of 15
                                                                      IVERSON


      VH.A.(Fottnsic Specialty)FoЮ nsic psycholo―                                ing assessed, such as situational, personal,
      gists make reasonable efforts to ensure that the                           linguistic,and cultural difFerences,that lnight a←
      products oftheirservices,as wellastheirown pub―                            fect psychologists'judgments or reduce the accu―
      hcstatementsandproiessionaltestirnony,are corl‐                            racy oftheir intettretatiOns.勁 ?滋 ど    (7α ,tノ dを ‐
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      municated in ways that win promote understand―                             刀炉じ
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      ing and avoid deception, given the particular                                            "胞                     '′


      chΥ acteristics,roles,andabilitiesofvariousrecip―                          5,10(SEPT)When test score information is re―
      ients ofthe communications,                                                leased to students,parents,legal representatives,
                                                                                 teachers,chents,or the media,those responsible
      VH.D.(ForensicSpecialty)V力 ιれrゼ ∫′
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                      x ThiS principle does not preclude                         mon      ■lisinterpretations of test scores, and how
      forceful
      'れ       representation of the data and reasoning                          scores will be used.
      upon、 vhichaconclusionorprofessionalproductis
      based. It does, howevett preclude an attempt,
                                                                                 8.8(SEPT)ヽ Vhen score reporting includes assign―
      whetheractiveorpassive,toengage inpartisandis―
                                                                                 ing individuals to categories,thecategories should
      tortion or Hlisrepresentation. Fο 萬
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                                                                                 representation,should always be assigned.
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                                                                                 tential Hisinterpretations of test scores and to
                                                                                 possible unintended consequences of test use;
      VII.R(FoЮ nsic Specialty)Forensic psychologists
                                                                                 users should take steps to ■linilnize or avoid
      are aware that their essential role as expei to the
                                                                                 foreseeable ■lisinterpretations and unintended
      court is to assist the trier of fact to understand the
                                                                                 negative consequences.
      evidence orto deter巨五ne a factin issue.In offering
      expert evidence,they are aware thatthetr own pro―
      fessional observations, inferences, and conclu―                            I。   7(CPA)Make eVery reasonable erortto ensu礎
      SiOnS FnuSt be distinguished from legal facts,opin―                        that psychological knowledge is not rnisused,in―
      ions,and conclusions.Forensic psychologists are                            tentionally or unintentionally,to infringe on hu―
      prepared to explain the relationship bet、 veen their                       man rights.
      expeittestimony andthe legalissues andfacts ofan
      instance case.                                                             I■ ,6(CPA)Ensure            that their own and their coト
                                                                                 leagues' activities, functions, contributions, and
      1.01(APA)IfpsyChOlogistslearnofmisuseormis―                                hkelyoractualoutcomesoftheiractivities(inClud―
      representation of their、 vork,they take reasonable                         ing ttsearch ttsults)arenOt misrepttsented by oth―
      steps to correct or rniniFniZe the misuse or rnisrep―                      ers,and act quickly to correct any such Hlisrepre―
      resentation,                                                               sentation.


      9.06(APA)When interpreting assessment results,                             IH.11(CPA)T,た ゼじα ,′ ο θοηT盟 たαセ αs GOη 9‑
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      including automated interpretations, psycholoぃ                             タ
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      abilities,andothercharacteristicsofthepersonbe―                            駒
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        ,Material ttom Specialty 8uidelines for FoHelisic psycllologistsr'by tile Committec on Ethical Cuidelines fol・
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                              ,力rrッ ど i655‑665,Col)yl・ igllt◎ 1991 by Sphngci Adal)ted with Pcrrnission,
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      Additionalsources:American Psychological Association,2002i Canadian Psychological Association,2000;Arnerican Educational Reseal・                ch
 Association,1999,(Sec ReFeЮ         lices.)



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Ex. 161, p. 14 of 15
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